Case 4:21-cv-00546 Document 1-1 Filed on 02/19/21 in TXSD Page 1 of 4




                       EXHIBIT A
  Case 4:21-cv-00546 Document 1-1 Filed on 02/19/21 in TXSD Page 2 of 4

                                                                                                    Service of Process
                                                                                                    Transmittal
                                                                                                    01/19/2021
                                                                                                    CT Log Number 538913371
TO:         Kim Lundy Service Of Process
            Walmart Inc.
            702 SW 8TH ST
            BENTONVILLE, AR 72716-6209

RE:         Process Served in Texas

FOR:        Walmart Inc. (Former Name) (Domestic State: AR)
            Walmart Claims Services, Inc. (True Name)




ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

TITLE OF ACTION:                                  VALTASAROS PAULINE, Pltf. vs. WALMART Inc., Dft.
DOCUMENT(S) SERVED:                               Citation, Original Petition
COURT/AGENCY:                                     125th Judicial District Court Harris County, TX
                                                  Case # 202101708
NATURE OF ACTION:                                 Personal Injury - Failure to Maintain Premises in a Safe Condition - 10/19/2019 -
                                                  2700 S. Kirkwood in Houston, Harris County, Texas
ON WHOM PROCESS WAS SERVED:                       C T Corporation System, Dallas, TX
DATE AND HOUR OF SERVICE:                         By Certified Mail on 01/19/2021 postmarked: "Not Post Marked"
JURISDICTION SERVED :                             Texas
APPEARANCE OR ANSWER DUE:                         By 10:00 a.m. next following the expiration of 20 days after you were served
ATTORNEY(S) / SENDER(S):                          STEPHEN BOUTROS
                                                  STEPHEN BOUTROS, LTD
                                                  2 Riverway, Suite 1770
                                                  Houston, TX 77056
                                                  713-425-4300
ACTION ITEMS:                                     CT has retained the current log, Retain Date: 01/20/2021, Expected Purge Date:
                                                  01/25/2021

                                                  Image SOP

                                                  Email Notification, Kim Lundy Service Of Process ctlawsuits@walmartlegal.com

REGISTERED AGENT ADDRESS:                         C T Corporation System
                                                  1999 Bryan Street
                                                  Suite 900
                                                  Dallas, TX 75201
                                                  877-564-7529
                                                  MajorAccountTeam2@wolterskluwer.com
The information contained in this Transmittal is provided by CT for quick reference only. It does not constitute a legal opinion, and should not otherwise be
relied on, as to the nature of action, the amount of damages, the answer date, or any other information contained in the included documents. The recipient(s)
of this form is responsible for reviewing and interpreting the included documents and taking appropriate action, including consulting with its legal and other
advisors as necessary. CT disclaims all liability for the information contained in this form, including for any omissions or inaccuracies that may be contained
therein.




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               Case 4:21-cv-00546 Document 1-1 Filed on 02/19/21 in TXSD Page 3 of 4                       CLASS IdA
                                                                                   01/1 512021
     M ARILYN BURGESS
HARRIS COUNTY DISTRICT CLERK
        P. 0. BOX 4651
 HOUSTON,TEXAS 77210-4651
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                                                                                                    (WM1225230




                                                                                 WALMART INC
                                                                             C/O CT CORPORATION
                                                                            1999 BRYAN ST STE 900
                                                                               DALLAS TX 75201
                                                                               2021-01708 125'h
               Case 4:21-cv-00546 Document 1-1 Filed on 02/19/21 in TXSD Page 4 of 4
                                            1 -

                                              CAUSE NO.           202101708

                                              RECEIPT NO.            908325                      75.00         CTM
                                                          **********
                                                                                                 TR # 73830621

PLAINTIFF: VALTASAROS, PAULINE                                                         In The   125th
        vs.                                                                            Judicial District Court
DEFENDANT: WALMART                                                                     of Harris County, Texas
                                                                                       125TH DISTRICT COURT
                                                                                       Houston, TX
                                            CITATION (CERTIFIED)
THE STATE OF TEXAS
County of Harris



TO: WALMART INC (CORPORATION)
    BY SERVING ITS REGISTERED AGENT C T CORPORATION SYSTEM

      1999     BRYAN ST STE 900   DALLAS    TX     75201

      Attached is a copy of PLAINTIFF'S ORIGINAL PETITION & DUTY FOR DISCLOSURES



This instrument was filed on the 12th day of January, 2021, in the above cited cause number
and court. The instrument attached describes the claim against you.

     YOU HAVE BEEN SUED, You may employ an attorney. If you or your attorney do not file a
written answer with the District Clerk who issued this citation by 10:00 a.m on the Monday
next following the expiration of 20 days after you were served this citation and petition,
a default judgment may be taken against you. In addition to filing a written answer with the
clerk, you may be required to make initial disclosures to the other parties of this suit. These
disclosures generally must be made no later than 30 days after you file your answer with the
clerk. Find out more at TexasLawHelp.org.
TO OFFICER SERVING:
      This citation was issued on 13th day of January, 2021, under my hand and
seal of said Court.


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                                                                            MARILYN BURGESS, District Clerk
Issued at request of:                                                Z
                                                                            Harris County, Texas
BOUTROS, STEPHEN GEORGE                       g
                                                                  I    I
TWO RIVERWAY SUITE 1770                                           0 ;17     201 Caroline, Houston, Texas 77002
HOUSTON, TX 77056                                                           (P.O. Box 4651, Houston, Texas 77210)
Tel: (713) 425-4300
Bar No.: 90001891                                    Generated By: GILBERT, COURTNI NICOLE               u5u//11664131


                                           CLERK'S RETURN BY MAILING

Came to hand the         day of                                          , and executed by
mailing to Defendant certified mail, return receipt requested, restricted delivery, a true
copy   of   this    citation    together    with   an   attached   copy   of
 PLAINTIFF'S ORIGINAL PETITION & DUTY FOR DISCLOSURES
to the following addressee at address:



                                                       ADDRESS

                                                       Service was executed in accordance with Rule 106
(a)ADDRESSEE                                                (2) TRCP, upon the Defendant as evidenced by the
                                                             return receipt incorporated herein and attached
                                                             hereto at



                                                       on         day of
                                                       b y U.S. Postal delivery to


                                                        This citation was not executed for the following
                                                        reason:



                                                       MARILYN BURGESS, District Clerk
                                                       Harris County, TEXAS

                                                       By                                                 , Deputy




N.INT.CITM.P                                                             *73830621*
